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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES – GENERAL

fees for time spent related to those matters would be counter-productive. I also find that the rates
charged by Plaintiff’s counsel are reasonable.

       I accordingly find that 12.4 hours for Ms. Afrasiabi and .5 hours for Mr. Tehranian
associated with the filing of the motion to compel and this fees motion are reasonable. I also find
that Plaintiff’s counsel is entitled to some fees for preparation of the reply brief, but I reduce
slightly the time spent by Ms. Afrasiabi (from 10.7 hours to 6.0). I calculate the lodestar amount as
follows:

      Lawyer         Motion Hours         Reply Hours             Rate                 Fees
  Tehranian               0.5                 2.0                   $595.00             $1,487.50
  Afrasiabi              12.4                 6.0                   $350.00             $6,440.00
  TOTAL                                                                                $7,927.50

      Neither party requests an adjustment of the lodestar amount based on the Kerr factors. I
find no reason to make such an adjustment.

        Defendant’s counsel argues that an award of fees against counsel is unwarranted. As an
initial matter, Rule 37(a)(5)(A) makes clear that counsel can be ordered to pay a prevailing party’s
reasonable expenses. See Fed. R. Civ. P. 37(a)(5)(A) (“the court must . . . require the party . . .
whose conduct necessitated the motion, the party or attorney advising that conduct, or both to pay
the movant’s reasonable expenses”). And I cannot agree that counsel is blameless here.
Defendant’s counsel filed a responsive pleading on behalf of its client less than six months ago, a
pleading presumably filed in compliance with Rule 11’s requirements. The fact that counsel has
had an unspecified “breakdown” in its relationship with its client cannot absolve counsel from its
professional responsibility to participate in this litigation. It is frustrating if not outright maddening
that Defendant’s counsel waited over six weeks from the parties’ August 12 telephone conference
to file an 11-page motion to withdraw. It is also telling that Defendant’s counsel has made no
effort to advance its hearing date on Judge Staton’s calendar, even if such an effort might be
fruitless. See https://www.cacd.uscourts.gov/honorable-josephine-l-staton (last visited November
1, 2021) (“the filing of ex parte applications or stipulations to advance hearings in civil cases is
disfavored, as doing so merely seeks to move a particular motion to the head of the line”). In the
meantime, Defendant’s counsel cannot frustrate Plaintiff’s prosecution of this case with inaction.

      Rule 37(a)(5)(A) requires that the Court award reasonable expenses in these circumstances.
The Court ORDERS Defendant and its counsel to pay Plaintiff the sum of $7,927.50 as its
reasonable expenses in bringing the motion to compel and this fees motion. Defendant and its
counsel shall pay this sum to Plaintiff within thirty-five (35) days.




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